Case 25-30155 Document 37-7 Filed in TXSB on 04/07/25 Page 1 of 2




                  EXHIBIT 7
4/4/25, 11:52 AM             Case 25-30155 DocumentBK37-7
                                                      CM/ECFFiled  in Bankruptcy
                                                            LIVE - US TXSB on      04/07/25
                                                                                 Court-Texas      Page 2 of 2
                                                                                             Southern
                                                                                      United States Bankruptcy Court
                                                                                        Southern District of Texas




 Notice of Bankruptcy Case Filing

 A bankruptcy case concerning the debtor(s) listed below was filed under Chapter 7 of the United States Bankruptcy Code, entered on 01/07/2025
 at 10:40 AM and filed on 01/07/2025.

 ALLIANCE FARM AND RANCH, LLC
 5450 Honea Egypt Rd
 Montgomery, TX 77316
 Tax ID / EIN: XX-XXXXXXX, XX-XXXXXXX
 aka Alliance Farm and Ranch



  The case was filed by the debtor's attorney:

  Thaison Danny Hua
  Rejas Hua & Hoang, PLLC
  4909 Bissonnet St.
  Ste. 100
  Houston, TX 77401
  713-300-5075
 The case was assigned case number 25-30155 to Judge Alfredo R Perez.

 In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property. Under certain circumstances, the stay
 may be limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the
 Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights in this case.

 If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at our Internet home page http://www.txs.uscourts.gov/ or at the Clerk's Office,
 United States Bankruptcy Court, PO Box 61010, Houston, TX 77208.

 You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting forth important deadlines.


                                                                           Nathan Ochsner
                                                                           Clerk, U.S. Bankruptcy Court


                                                                                       PACER Service Center
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                                                                                              04/04/2025 11:51:42
                                                                    PACER Login:       stpendergast       Client Code:       9999-999999
                                                                    Description:       Notice of Filing   Search Criteria:   25-30155
                                                                    Billable Pages:    1                  Cost:              0.10




https://ecf.txsb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?478410                                                                                                                                       1/1
